              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:09-cr-00013-MR-WCM-9


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                       ORDER
                                 )
YVONNE MARIE FOUNTAIN,           )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court upon the Defendant’s Unopposed

Motion for Amended Judgment under the First Step Act of 2018 [Doc. 935].

The Government, through counsel, consents to the requested relief.

     In July 2009, the Defendant was found guilty by a jury of conspiracy to

possess with intent to distribute cocaine and cocaine base, in violation of 21

U.S.C. §§ 841 and 846. The jury found that the Defendant’s offense involved

at least 50 grams of cocaine base but less than 150 grams, a finding that

triggered the enhanced penalties of § 841(b)(1)(A). Based on that finding,

and the Government’s filing of an § 851 notice of prior conviction, the

Defendant faced a statutory minimum sentence of 240 months.                    At

sentencing in August 2009, the Court imposed the required 240-month




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sentence and a ten-year term of supervised release.           [See Doc. 349:

Judgment at 2-3].

      On August 3, 2010, the Fair Sentencing Act of 2010, Pub. L. 111-220,

went into effect. Section 2 of the Act increased the quantity of cocaine base

required to trigger the enhanced penalties of Section 841. Specifically, it

raised the (b)(1)(A) threshold from “50 grams” to “280 grams” and the

(b)(1)(B) threshold from “5 grams” to “50 grams.” Section 3 eliminated the

mandatory minimum for simple possession of cocaine base under 21 U.S.C.

§ 844(a). Congress did not apply these changes retroactively to defendants

sentenced before the Act’s passage. Accordingly, the Defendant could not

obtain relief under the Fair Sentencing Act.

      On December 21, 2018, the President signed into law the First Step

Act of 2018, Pub. L. 115-135. Section 404 of the Act gives retroactive effect

to the changes made by Sections 2 and 3 of the Fair Sentencing Act of 2010.

Section 404(a) defines a “covered offense” as “a violation of a Federal

criminal statute, the statutory penalties for which were modified by Section 2

or 3 of the Fair Sentencing Act of 2010 (Public Law 111-220; 124 Stat. 2372),

that was committed before August 3, 2010.” Section 404(b) then provides

that “[a] court that imposed a sentence for a covered offense may . . . impose

a reduced sentence as if Section 2 or 3 of the Fair Sentencing Act of 2010


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(Public Law 111-220; 124 Stat. 2372) were in effect at the time the covered

offense was committed.”

      The Defendant is eligible for relief under the First Step Act because

she was convicted of a “covered offense” under Section 404(a)’s definition.

Her offense was committed before August 3, 2010; she was subjected to a

20-year statutory minimum under Section 841(b)(1)(A); and that statutory

penalty was “modified by Section 2 . . . of the Fair Sentencing Act.” Because

the Defendant is eligible for relief, this Court has the discretion under Section

404(b) to “impose a reduced sentence” in accordance with Section

841(b)(1)(C)’s statutory penalties, which provide for a ten-year mandatory

minimum of imprisonment and a maximum term of life, along with an eight-

year minimum term of supervised release.

      Applying the Sentencing Guidelines as they existed at the time of the

Defendant’s sentencing, but modifying any calculation of the Guidelines

range as though Sections 2 and 3 of the Fair Sentencing Act were in effect

at the time that the Defendant committed the offense, reduces the

Defendant’s Guidelines term of 240 months (the statutory mandatory

minimum) to a range with a low end of 120 months.1 See U.S.S.G. § 5A.


1 Based on a total offense level (TOL) of 30 and a criminal history category (CHC) of I,

the Defendant’s Guidelines range of imprisonment (absent application of the mandatory
minimum) was originally calculated to be 97 to 121 months. [See PSR at ¶ 51].
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This Court previously sentenced the Defendant to the statutory mandatory

minimum of 240 months. A proportionate reduction under the First Step Act

would yield a sentence of 120 months, the revised statutory mandatory

minimum.

      The Defendant’s sentence has not been previously reduced by the

operation of Sections 2 or 3 of the Fair Sentencing Act of 2010, and no

previous motion has been made by the Defendant pursuant to Section 404

of the First Step Act of 2018.

      Finally, the Court notes that the Supplemental Presentence Report

indicates that the Defendant has received no disciplinary actions while in

custody. [See Doc. 936: Supp. PSR at 2]. Additionally, the Defendant has

successfully completed numerous educational programs and work

assignments. With good time earned, she currently has a total of 138 months

of BOP credited time. [Id.]. Thus, the Defendant has served more than the

ten-year mandatory minimum required by the Fair Sentencing Act.




Subsequent Guidelines reductions, such as Amendment 782, would have reduced the
Defendant’s TOL to 26, which (absent application of the mandatory minimum) would have
resulted in a Guidelines range of 63 to 78 months. [See Doc. 936 at 2]. It remains an
open question as to whether a defendant is entitled to the benefit of retroactive
amendments to § 2D1.1. That, however, is immaterial to the present analysis. Because
the revised statutory minimum sentence of imprisonment is greater than either range that
is based on the TOL and CHC, the Guidelines term of imprisonment becomes the
statutory mandatory minimum of 120 months (or a range of 120 to 121 months if no §
2D1.1 amendments apply). See U.S.S.G. § 5G1.1(b).
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      For all these reasons, the Court concludes that the Defendant is

eligible for relief in the form of a reduced sentence pursuant to the First Step

Act of 2018 and 18 U.S.C. § 3582(c)(1)(B) (allowing the court to modify a

sentence “to the extent otherwise expressly permitted by statute”).

      Based on the entire record of the case, including the Defendant’s

disciplinary record with the BOP, the Court, in its discretion, reduces the

Defendant’s sentence to a period of time served plus ten (10) days. The

Defendant’s term of supervised release shall be reduced to a period of eight

(8) years.

      IT IS, THEREFORE, ORDERED that the Defendant’s Unopposed

Motion for Amended Judgment under the First Step Act of 2018 filed by

counsel [Doc. 935] is GRANTED, and the Defendant’s sentence is hereby

reduced to Time Served plus ten (10) days and the term of supervised

release is hereby reduced to eight (8) years. All other terms and conditions

of the Defendant’s Judgment [Doc. 349] shall remain in full force and effect.

      The Clerk is respectfully directed to prepare an Amended Judgment in

accordance with this Order.

      The Clerk is further directed to provide copies of this Order to the

Defendant, counsel for the Defendant, the United States Attorney, the United




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States Marshals Service, the United States Probation Office, and the United

States Bureau of Prisons.

     IT IS SO ORDERED.
                               Signed: February 14, 2019




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